Case 2:23-cv-00780-ODW-MRW Document 12 Filed 04/26/23 Page 1 of 16 PageFILED
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Case 2:23-cv-00780-ODW-MRW Document 12 Filed 04/26/23 Page 2 of 16 Page ID #:59
Case 2:23-cv-00780-ODW-MRW Document 12 Filed 04/26/23 Page 3 of 16 Page ID #:60
Case 2:23-cv-00780-ODW-MRW Document 12 Filed 04/26/23 Page 4 of 16 Page ID #:61
Case 2:23-cv-00780-ODW-MRW Document 12 Filed 04/26/23 Page 5 of 16 Page ID #:62
Case 2:23-cv-00780-ODW-MRW Document 12 Filed 04/26/23 Page 6 of 16 Page ID #:63
Case 2:23-cv-00780-ODW-MRW Document 12 Filed 04/26/23 Page 7 of 16 Page ID #:64
Case 2:23-cv-00780-ODW-MRW Document 12 Filed 04/26/23 Page 8 of 16 Page ID #:65
Case 2:23-cv-00780-ODW-MRW Document 12 Filed 04/26/23 Page 9 of 16 Page ID #:66
Case 2:23-cv-00780-ODW-MRW Document 12 Filed 04/26/23 Page 10 of 16 Page ID #:67
Case 2:23-cv-00780-ODW-MRW Document 12 Filed 04/26/23 Page 11 of 16 Page ID #:68
Case 2:23-cv-00780-ODW-MRW Document 12 Filed 04/26/23 Page 12 of 16 Page ID #:69
Case 2:23-cv-00780-ODW-MRW Document 12 Filed 04/26/23 Page 13 of 16 Page ID #:70
Case 2:23-cv-00780-ODW-MRW Document 12 Filed 04/26/23 Page 14 of 16 Page ID #:71
Case 2:23-cv-00780-ODW-MRW Document 12 Filed 04/26/23 Page 15 of 16 Page ID #:72
Case 2:23-cv-00780-ODW-MRW Document 12 Filed 04/26/23 Page 16 of 16 Page ID #:73
